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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE

K.B., an individual,

        Plaintiff,

V                                                     Case   No.: I : 1 9-cv-01213-AJ

INTER-CONTINENTAL HOTELS
CORPORATION; WYNDHAM HOTELS AND
RESORTS, INC.; BEST WESTERN
INTERNATIONAL, INC.; AND MARRIOTT
INTERNATIONAL, INC.;

        Defendants.


MARRIOTT INTERNATIONAL,INC.'S RESPONSE TO PLAINTIFF K.B.'S MOTION
  FOR A PROTECTIVE ORDER AND LEAVE TO PROCEED ANONYMOUSLY

        Defendant Marriott International, Inc. ("Marriott Intemational"),       by and through      the

undersigned counsel, hereby responds to Plaintiff s Motion for a Protective Order and Leave to

Proceed Anonymously (Dkt. 2) (the 'oMotion") and in support states as follows:

                                        INTRODUCTION

        The Complaint alleges that K.B. was the victim of criminal sex trafficking at hotels in New

Hampshire, including the TownePlace Suites Laconia-Guilford. In her Motion, K.B. requests

leave to proceed anon)rmously for purposes of "all materials filed in this action." Dkt. 2, at   8. The

Motion argues that proceeding anonymously is appropriate because requiring K.B. to disclose her

identity in public filings would further victimize her and compound the harms she seeks to redress.

Dkt. 2, at2, The Motion also argues that K.B. fears potential retaliation by her alleged trafficker.

Dkt.2, at2, 5-6.

        Marriott Intemational recognizes the highly sensitive and personal nature of this action.

As such, and in light of Plaintiff s representation that she will provide Defendants with her true

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name and identity, as well as the identity                of her trafficker(s)   (see Dkt.   2, at 2), Marriott

Intemational does not oppose the entry of an order allowing her to proceed anonymously, without

prejudice to either party's right to revisit the issue prior to trial. Marriott International does oppose

the motion to the extent    it   seeks to restrict   Marriott International's ability to use Plaintiff   s   identity

(as   well as the identity of her trafficker) to investigate the claims asserted and in the course of

discovery in this action. Such restrictions would severely prejudice Marriott International's ability

to investigate Plaintiff s allegations and to prepare its defense in this action.

                                                     ARGUMENT

         "Every pleading" in federal court "must name all the parties." Fed R. Civ. P.                         10(a).


Nevertheless, courts have permitted parties to proceed anonymously and to seal documents that

reveal their true identities when extraordinary circumstances justify that restriction. Doe                        v.


Trustees of Dartmouth Cottlege, No. l8-cv-690-JD,2018                  WL 5801532,at*1 (D.N.H. Nov.2,

2018). The First Circuit has not addressed the issue of proceeding anonymously. Id. at *1, n.1.

However, other circuit courts that have addressed the issue have crafted balancing tests based on

a series   of factors to determine whether extraordinary circumstances exist. Id. at *1. ln Trustees

of Dartmouth College,this court adopted the balancing test articulated by the Second Circuit in

Sealed   Plaintiffv.   Sealed Defendant 537 F.3d 185 (2nd Cir. 2008). There, the Second Circuit set

forth the following factors to consider in determining whether a plaintiff should                            proceed


anonymously:

           (1) whether the case involves matters that are highly sensitive and of a personal nature; (2)
           whether identification would cause the litigation or a third party physical or mental harm;
           (3) whether identification would cause an injury that the litigation seeks to prevent; (4)
           whether the plaintiff is particularly wlnerable to the possible harms of disclosure,
           particularly in light of his age; (5) whether the suit is challenging the actions of the
           government or that ofprivate parties; (6) whether and how keeping the plaintiff anonymous
           would prejudice the defendant; (7) whether the plaintiffs identity has remained
           confidential; (8) whether identifying the plaintiff furthers the public interest; and (9)

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            whether alternative mechanisms could protect the plaintifPs confidentiality.

TrusteesofDartmouthCollege,2Ol8WL5801532, at*2(citrngSealedPlaintffi53T F.3dat189).

            In this   case, K.B. has asserted claims under the Trafficking Victims Protection

Reauthorization Act (..TVPRA"). To assert a claim under the TVPRA, K.B. must be a trafficking

'ovictim."     18 U.S.C. $ 1595(a). In other words, K.B. must establish that she was caused to engage

in commercial sex acts against her will through force, threats of force, fraud, or coercion.       18


U.S.C. $ 1591(a). Investigating whether K,B. was in fact a victim of sex-trafficking under the

TVPRA will involve the use of K.B.'s identity in discovery to determine whether       a crime occurred


and,   if   so, the identities of those who were involved.

            Marriott International does not oppose K.B.'s request to proceed anonymously forpurposes

of pre-trial public filings, provided Marriott International has a full and fair opportunity        to

investigate K.B.'s claims and defend against them.l

                                              CONCLUSION

            For all the foregoing reasons,     if   the Court is inclined to permit K.B. to   proceed

anon)imously for any purposes in this action, Marriott International respectfully requests that the

Court limit K.B.'s motion and the scope of any relief to pre-trial public filings.




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  To that end, and as noted in the Joint Discovery Plan that is due to be filed March 9,2020,the
parties have agreed to meet and confer to negotiate a stipulated protective order to be entered in
this action.


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                                               Respectfully submitted,

                                               MARRIOTT INTERNATIONAL, INC.

                                               By and through its attorneys,
                                               SHEEHAN PHINNEY BASS & GREEN, PA

Dated: March 9,2020                    By:    lsl Mesan C. Carcier
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                                 CERTIFICATE OF SERVICE

       I hereby certiSz that on this day, I electronically filed the foregoing with the Clerk of the
Court using the CIWECF system, which sent notification of such filing to all parties andlor counsel
of Record.

                                      lsl Mesan C. Carrier
                                      Megan C. Carrier




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